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      TROLLEY BAGS UK LTD, and
  7   BERGHOFF INTERNATIONAL, INC.
  8                           UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10

 11   GOLDEN EYE MEDIA USA, INC., a               Case No. 3:18-cv-2109-BEN-LL
      California corporation
 12                                               Hon. Roger T. Benitez
                    Plaintiff and                 Hon. Mag. Linda Lopez
 13                 Counterdefendant,
                                                  DEFENDANTS AND
 14           v.                                  COUNTERCLAIMANTS’ MOTION
                                                  FOR LEAVE TO AMEND ANSWER
 15 TROLLEY BAGS UK LTD, a                        AND COUNTERCLAIMS AND TO
    corporation of the United Kingdom; and        JOIN PARTIES
 16 BERGHOFF INTERNATIONAL,
    INC., a Florida corporation                   Date: March 25, 2019
 17                                               Time: 10:30 a.m.
                    Defendants and                Courtroom: 5A
 18                 Counterclaimants.
 19

 20           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 21           PLEASE TAKE NOTICE that on Monday, March 25, 2019, at 10:30 a.m.
 22   or as soon thereafter as counsel may be heard, Defendants and Counterclaimants
 23   Trolley Bags UK Ltd. (“Trolley Bags”) and BergHOFF International, Inc.
 24   (“BergHOFF”) shall move, pursuant to Federal Rule of Civil Procedure 15(a)(2)
 25   and Local Rule 15.1, for an Order granting leave to amend their Answer and
 26   Counterclaims and, pursuant to Federal Rules of Civil Procedure 20, for an order
 27   joining Plaintiff’s owners, Farzan Dehmoubed and Jennifer Duvall, as
 28   Counterdefendants.

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        Case No. 3:18-cv-2109-BEN-LL                               Motion for Leave to Amend
      30141639.1
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  1
              Counterclaimants should be permitted to amend their Counterclaims to add
  2
      claims that arose after the filing of the initial Counterclaims. These new claims,
  3
      which involve factual and legal issues that overlap with the claims already pending
  4
      in the case, are against Plaintiff and its owners. Counterclaimants therefore also seek
  5
      to join Plaintiff’s owners as Counterdefendants.
  6
              In support of their Motion, Defendants and Counterclaimants shall rely on the
  7
      accompanying Memorandum of Points and Authorities and the proposed First
  8
      Amended Answer and Counterclaims attached as Exhibit 1 thereto. A copy of the
  9
      proposed First Amended Answer and Counterclaims, which shows changes from the
 10
      original Answer and Counterclaims, is attached as Exhibit 2 to the Memorandum of
 11
      Points and Authorities.
 12

 13
                                                       Respectfully submitted,
 14    Dated: February 19, 2019
                                                       HONIGMAN LLP
 15

 16                                                /s/Matthew Mrkonic
                                       By:         Matthew Mrkonic (SBN 266779)
 17
                                                   mmrkonic@honigman.com
 18                                                J. Michael Huget (admitted pro hac vice)
                                                   mhuget@honigman.com
 19
                                                   Attorneys for Defendants
 20                                                TROLLEY BAGS UK LTD, and
                                                   BERGHOFF INTERNATIONAL, INC.
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  1
                                   CERTIFICATE OF SERVICE
  2

  3           I hereby certify that on February 19, 2019, I electronically filed the foregoing

  4   with the Clerk of the Court using the ECF system which will send notification of
  5
      such filing to all ECF participants in this matter.
  6

  7

  8           Dated: February 19, 2019
  9
                                                 /s/ Matthew Mrkonic
 10                                              Matthew Mrkonic
 11

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        Case No. 3:18-cv-2109-BEN-LL                                    Motion for Leave to Amend
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